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 1                               UNITED STATES DISTRICT COURT
 2                            NORTHERN DISTRICT OF CALIFORNIA
 3
                                                              Case No. 5:20-cv-02162-EJD
 4    LOUIS FLOYD and TERRY
      FABRICANT, individually and on behalf of                Hon. Edward J. Davila
 5    all others similarly situated,
                                                              ORDER GRANTING PRELIMINARY
 6                           Plaintiffs,                      APPROVAL OF STIPULATION AND
 7            v.                                              AGREEMENT OF SETTLEMENT,
                                                              CONDITIONAL CLASS
 8    FIRST DATA MERCHANT SERVICES                            CERTIFICATION, NOTICE TO
      LLC,                                                    SETTLEMENT CLASS MEMBERS
 9                                                            AND ENTRY OF SCHEDULING
      SAM’S CLUB MERCHANT SERVICES,                           ORDER
10

11    NATIONAL PAYMENT SYSTEMS LLC,
      and
12
      NATIONAL PAYMENT SYSTEMS OR,
13    LLC d/b/a/ ONE CONNECT
      PROCESSING,
14    Defendants.
15
                                             INTRODUCTION
16
            Pending is the Unopposed Motion for Preliminary Approval of Stipulation and Agreement
17
     of Settlement, Conditional Class Certification, Notice to Class Members and Entry of Scheduling
18

19   Order (the "Motion") of plaintiffs Louis Floyd and Terry Fabricant (jointly, “Plaintiffs”). For the

20   reasons stated herein, the Court grants Plaintiffs' Motion, conditionally certifies the class for

21   settlement purposes only, preliminarily approves the Stipulation of Settlement, and enters the
22   schedule set forth below for notice to Settlement Class Members, exclusion and opt-out deadlines,
23
     and for a final approval hearing.
24                             March
             WHEREAS, on February ____,17 2022, the parties filed a Stipulation and Agreement of
25
     Settlement (the "Settlement" or "Settlement Agreement"), which, together with the exhibits
26

27   thereto, sets forth the terms and conditions for the Settlement and release of certain claims against

28
                                                       1
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 1   First Data Merchant Services, LLC (“First Data”) Sam’s Club Merchant Services (“Sam’s Club”),
 2   National Payment Systems, LLC (“NPS”) and National Payment System OR, LLC d/b/a One
 3
     Connect Processing (“NPS-OR”) (collectively “Defendants”). The Settlement Agreement was
 4
     entered into only after extensive arm's-length negotiation by experienced counsel and in mediation
 5
     under the guidance of the Honorable Louis Meisinger (Ret.);
 6

 7          WHEREAS, the Court having considered the Settlement Agreement (which defines the

 8   capitalized terms used herein) and all of the files, records, and proceedings herein, and it appearing

 9   to the Court that upon preliminary examination that the Settlement appears fair, reasonable and
10
     adequate, and that a hearing should and will be held after Class Notice to the Settlement Class to
11
     confirm that the Settlement is fair, reasonable, and adequate, and to determine whether a Judgment
12
     approving the Settlement and an Order dismissing the Action based upon the Settlement be
13
     entered;
14

15          NOW, THEREFORE, IT IS HEREBY ORDERED:

16   I.     THE CLASS, REPRESENTATIVE PLAINTIFFS, AND CLASS COUNSEL
17          1.      For purposes of settlement only, the Court has jurisdiction over the subject matter
18   of this action and personal jurisdiction over the parties and the members of the Settlement Class
19
     described below.
20
            2.      Pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure, and for the
21
     purposes of settlement only, the Settlement Class is preliminarily certified, consisting of the
22

23   following:

24                  All persons in the United States to whom: a) one or more calls
                    (including text messages) were made; b) to a cellular telephone
25                  number c) that could have promoted First Data or Sam’s Club
                    Merchant Services’ goods or services; d) using a dialing system the
26                  same as or similar to that used to call any of Plaintiffs and/or an
                    artificial or prerecorded voice; e) between March 30, 2016 to the
27                  date of preliminary approval.

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 1                  The following are excluded from the Settlement Class: (1) any trial
                    judge and other judicial officers that may preside over this case;
 2                  (2) the Mediator; (3) Defendants, as well as any parent, subsidiary,
                    affiliate or control person of Defendants, and the officers,
 3                  directors, agents, servants or employees of Defendants; (4) any of
                    the Released Parties; (5) any Settlement Class Member who has
 4                  timely submitted a Request for Exclusion by the Opt-Out
                    Deadline; (6) any person who has previously given a valid release
 5                  of the claims asserted in the Action; (7) Plaintiffs’ Counsel; and (8)
                    persons for whom Defendants have a record demonstrating “prior
 6                  express written consent” as defined by the TCPA

 7          3.      Pursuant to Fed. R. Civ. P. 23, and for settlement purposes only, Plaintiffs Louis
 8   Floyd and Terry Fabricant are hereby appointed Representative Plaintiffs (“Plaintiffs” or
 9
     “Representative Plaintiffs”) and the following counsel are hereby appointed as Class Counsel:
10
                                        Edward A. Broderick, Esq.
11                                       BRODERICK LAW, P.C.
                                       176 Federal Street, Fifth Floor
12                                          Boston, MA 02110
13
                                      Matthew P. McCue, Esq.
14                           THE LAW OFFICES OF MATTHEW P. McCUE
                                      1 South Avenue, Suite 3
15                                       Natick, MA 01760
16                                       Anthony I. Paronich, Esq.
                                         PARONICH LAW, P.C.
17
                                       350 Lincoln Street, Suite 2400
18                                         Hingham, MA 02043

19                                      Andrew Heidarpour, Esq.
                                   HEIDARPOUR LAW FIRM, PLLC
20                               1300 Pennsylvania Avenue, NW, 190-318
                                         Washington, DC 20004
21
            4.      The Court preliminarily finds that the proposed Settlement Class meets all the
22

23   applicable requirements of Fed. R. Civ. P. 23(a) and (b)(3), and hereby certifies the Settlement

24   Class for settlement purposes only. The Court hereby preliminarily finds, in the specific context
25   of the Class Settlement, that:
26

27

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 1                   (a)     Numerosity: The Settlement Class satisfies the numerosity requirement of
 2   Fed. R. Civ. P. 23(a). Joinder of these widely dispersed, numerous Settlement Class Members into
 3
     one suit would be impracticable.
 4
                     (b)     Commonality: There are questions of law and fact, with regard to the
 5
     alleged activities of Defendants, common to the Settlement Class.
 6

 7                   (c)     Typicality: The claims of the Representatives Plaintiffs are typical of the

 8   claims of the Settlement Class they seek to represent. Therefore, in the context of this settlement

 9   the element of typicality is satisfied.
10
                     (d)     Adequate Representation: The Representative Plaintiffs' interests do not
11
     conflict with, and are co-extensive with, those of absent Settlement Class Members.             The
12
     Representative Plaintiffs will fairly and adequately represent the interests of the Settlement Class.
13
     Additionally, this Court recognizes the experience of Class Counsel and finds under Fed. R. Civ.
14

15   P. 23(g) that the requirement of adequate representation of the Settlement Class has been fully met.

16                   (e)     Predominance of Common Issues: The questions of law and fact common
17   to the Settlement Class Members predominate over any questions affecting only individual
18
     Settlement Class Members. In the context of this Settlement, these issues predominate over any
19
     individual questions, favoring class treatment.
20
                     (f)     Superiority of the Class Action Mechanism: The class action mechanism is
21

22   ideally suited for treatment of the settlement of these matters. Class certification promotes

23   efficiency and uniformity of judgment, among other reasons, because the many Settlement Class

24   Members will not be forced to separately pursue claims or execute settlements in various courts
25   around the country. Therefore, the class action mechanism is superior to other available methods
26
     for the fair and efficient adjudication of the controversy.
27

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 1            5.    The Court further finds that: (i) the Settlement Class Members have a limited
 2   interest in individually prosecuting the claims at issue; (ii) the Court is satisfied with Class
 3
     Counsel's representation that they are unaware of any other litigation commenced regarding the
 4
     claims at issue by the Settlement Class Members; (iii) it is desirable to concentrate the claims in
 5
     this forum; and (iv) it is unlikely that there will be difficulties encountered in administering this
 6

 7   Settlement.

 8            6.    The Representative Plaintiffs are Louis Floyd and Terry Fabricant. Based upon the

 9   Court's familiarity with the claims and parties, and the negotiation and mediation process overseen
10
     by the Honorable Louis Meisinger, the Court preliminarily finds that these designated
11
     Representative Plaintiffs are appropriate for settlement purposes.        The Court finds that the
12
     Representative Plaintiffs are members of the Settlement Class.
13
              7.    If the Settlement Agreement is terminated or is not consummated for any reason
14

15   whatsoever, the certification of the Settlement Class shall be void, and Plaintiffs and Defendants

16   shall be deemed to have reserved all of their rights as set forth in the Settlement Agreement,
17   including but not limited to the issues related to all claims, defenses, and issues under Fed. R. Civ.
18
     P. 23.
19
     II.      THE SETTLEMENT FUND
20
              8.    Pursuant to the Settlement Agreement, Defendants shall deposit a total of one
21
     million six hundred thousand dollars ($1,600,000) into the Settlement Fund when this Settlement
22

23   becomes Final, as per the terms of the Settlement Agreement. The Settlement Fund will be

24   maintained by the Settlement Administrator for the benefit of the Settlement Class and Class

25   Counsel. All of the monies deposited by Defendants into the Settlement Fund will be placed in an
26
     interest bearing escrow account established and maintained by the Settlement Administrator. The
27
     interest generated, if any, will accrue to the benefit of the Settlement Class and is to be added into
28
                                                        5
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 1   the Settlement Fund. Defendants shall make deposits into the Settlement Fund in accordance with
 2   the following schedule:
 3
                    a.      Within ten (10) days of the entry of the Preliminary Approval Order,
 4
     Defendants will disburse to the Settlement Administrator one hundred seventy five thousand
 5
     dollars ($175,000) of the Settlement Fund to be used by the Settlement Administrator for
 6

 7   preliminary Settlement Administration Costs, including the costs to complete the Class Notice,

 8   establish and maintain the Settlement Website, establish and maintain a toll-free number for

 9   questions by class members, as well as any other initial administration costs to the Parties.
10
                    b.      All Settlement Administration Costs will be drawn from the Settlement
11
     Fund by the Settlement Administrator, subject to the written approval of Defendants (via their
12
     counsel) and Class Counsel.
13
                    c.      Defendants will disburse to the Settlement Administrator the remainder of
14

15   the Settlement Fund within five (5) days following the Effective Date.

16          9.      The Settlement Fund will constitute Defendants’ exclusive payment obligation
17   under the Settlement Agreement and will be used to pay: (a) Cash Benefits paid to Settlement
18
     Class Members, as prescribed by the Settlement Agreement; (b) Attorneys' Fees and Costs, as
19
     awarded by the Court; (c) any Incentive Award awarded to Louis Floyd, and Terry Fabricant; (d)
20
     Settlement Administration Costs, including costs of notice (including CAFA Notice); and (e) any
21

22   cy pres payment to the National Consumer Law Center pursuant to the procedures described in the

23   Settlement Agreement. No portion of the Settlement Fund will be returned to Defendant, except

24   as provided in Section 11 of the Settlement Agreement, Termination of the Agreement.
25          10.     Any distribution of the Settlement Fund to the Settlement Class or any other person,
26
     other than the Settlement Administrator pursuant to the terms hereof, shall commence only after
27

28
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 1   the Effective Date. The Aggregate Fees, Costs, and Expenses shall be paid from the Settlement
 2   Fund prior to any distribution of Cash Benefits to the Settlement Class. The remainder of the
 3
     Settlement Fund shall be used to pay Cash Benefits in accordance with the rules set forth herein.
 4
            11.      If the Settlement Agreement is not approved or for any reason the Effective Date
 5
     does not occur, no payments or distributions of any kind shall be made, other than payments to the
 6

 7   Settlement Administrator for services rendered and costs incurred.

 8          12.      The Court finds that the Settlement Fund is a "qualified settlement fund" as defined

 9   in Section l.468B-1(c) of the Treasury Regulations in that it satisfies each of the following
10
     requirements:
11
                     (a)    The escrow account for the Settlement Fund is established pursuant to this
12
     Order and is subject to the continuing jurisdiction of this Court;
13
                     (b)    The escrow account for the Settlement Fund is established to resolve or
14

15   satisfy one or more Approved Claims that have resulted or may result from an event that has

16   occurred and that has given rise to at least one Approved Claim asserting liability arising out of an
17   alleged violation of law; and
18
                     (c)    The assets of the escrow account for the Settlement Fund are segregated
19
     from other assets of Defendants, the transferor of the payment to the Settlement Fund.
20
            13.      Under the "relation back" rule provided under Section 1.468B-1(j)(2)(i) of the
21

22   Treasury Regulations, the Court finds that:

23                   (a)    The escrow account for the Settlement Fund meets the requirements of

24   paragraphs 12(b) and 12(c) of this Order prior to the date of this Order approving the establishment
25   of the Settlement Fund subject to the continued jurisdiction of this Court; and
26

27

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                                                       7
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 1                    (b)    Defendants and the Settlement Administrator may jointly elect to treat the
 2   escrow account for the Settlement Fund as coming into existence as a "qualified settlement fund"
 3
     on the later of the date the escrow account for the Settlement Fund met the requirements of
 4
     paragraph 12 of this Order or January 1 of the calendar year in which all of the requirements of
 5
     paragraph 12 of this Order are met. If such a relation-back election is made, the assets held by the
 6

 7   Settlement Fund on such date shall be treated as having been transferred to the escrow account on

 8   that date.

 9   III.    NOTICE TO SETTLEMENT CLASS MEMBERS
10           14.      The Court has considered the proposed Exhibits B and D attached to the Settlement
11
     Agreement and finds that the form, content, and manner of notice proposed by the parties and
12
     approved herein meet the requirements of due process and Fed. R. Civ. P. 23(c) and (e), are the
13
     best notice practicable under the circumstance, constitute sufficient notice to all persons and
14

15   entities entitled to notice, and satisfy the Constitutional requirements of notice. The Court

16   approves the notices in all respects, including the proposed forms of notice and the notice

17   provisions of the Settlement Agreement, and orders that notice be given in substantial conformity
18   therewith. The costs of disseminating the Class Notice shall be paid from the Settlement Fund in
19
     accordance with the Settlement Agreement.
20
             15.      All costs of providing the Class Notice as provided herein, including the costs of
21
     identifying address information for Settlement Class Members and the costs of printing, web
22

23   hosting and/or publishing the Class Notice, shall be paid for out of the Settlement Fund, subject to

24   the terms hereof. In the event that the Settlement Agreement is terminated pursuant to its terms,

25   Defendants shall bear any costs of providing Class Notice already incurred.
26

27

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                                                       8
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 1          16.     The Court hereby approves the form, content and requirements of the Class Notices
 2   annexed to the Settlement Agreement as Exhibits B and D and the procedure for notice set forth
 3
     under Section 6 in the Settlement Agreement.
 4
            17.     The Court hereby finds that compliance with the procedures in Section 6 of the
 5
     Settlement Agreement is the best notice practicable under the circumstances and shall constitute
 6

 7   due and sufficient notice to the Settlement Class of the pendency of the Action, certification of the

 8   Settlement Class, the terms of the Settlement Agreement, and the Final Approval Hearing, and

 9   shall satisfy the requirements of the Federal Rules of Civil Procedure, the United States
10
     Constitution, and any other applicable law, rule and/or regulation.
11
     IV.    CONFIDENTIALITY
12
            18.     Any information received by the Settlement Administrator in connection with the
13
     Settlement Class that pertains to a particular Settlement Class Member, or information submitted
14

15   in conjunction with a Request for Exclusion (other than the identity of the entity requesting

16   exclusion), shall not be disclosed to any other person or entity other than Class Counsel,

17   Defendants’, and the Court, or as otherwise provided in the Settlement Agreement.
18   V.     REQUEST FOR EXCLUSION FROM THE SETTLEMENT CLASS
19
            19.     Settlement Class Members who wish to be excluded from Settlement Class shall
20
     mail a written Request for Exclusion to the Settlement Administrator, so that it is postmarked no
21
     later than ninety (90) days after the entry of the Notice Date (the “Opt-Out Deadline”), and shall
22

23   clearly state the following: the name, address, telephone number, of the individual or entity who

24   wishes to be excluded from the Settlement Class, and provide all such information as may be

25   required by the Settlement Agreement or requested by the Settlement Administrator.
26

27

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                                                       9
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 1   VI.    APPOINTMENT OF SETTLEMENT ADMINISTRATOR
 2          20.     The Court appoints AB Data, Ltd. as the Settlement Administrator.
 3
     Responsibilities of the Settlement Administrator shall include the following: (a) completing Class
 4
     Notice, as provided in Section 6 of the Settlement Agreement; (b) obtaining complete address
 5
     information for Settlement Class Members (where possible) and new addresses for returned mail;
 6
     (c) creating and maintaining a Settlement Website, from which Settlement Class Members can
 7

 8   access copies of the Complaint, the Settlement Agreement, the Short Form Notice, the Long Form

 9   Notice, this Preliminary Approval Order and other important documents and information about the
10   Settlement; (d) setting up and maintaining a toll-free telephone number and fielding telephone
11
     inquiries about the Settlement; (e) reviewing, processing and approving Claims; (f) acting as a
12
     liaison between Settlement Class Members and the Parties; (g) directing the mailing of Benefit
13
     Checks to Settlement Class Members; (h) providing copies of any objections that are received to
14

15   Defendants’ counsel and Class Counsel as they are received; (i) preparing and providing a

16   declaration to Defendants’ counsel and Class Counsel, no later than seven (7) calendar days prior

17   to the Final Approval Hearing, that will attest to the compliance with the provisions of the
18   Settlement Agreement related to Class Notice and list each Settlement Class Member who timely
19
     and validly opted out of the Settlement; and (j) performing any other tasks reasonably required to
20
     effectuate the Settlement.
21
     VII.   FINAL APPROVAL HEARING AND SCHEDULE
22

23          21.     A hearing (the “Final Approval Hearing”) pursuant to Fed. R. Civ. P. 23(e) is

24   hereby scheduled to be held before the Court no earlier than one hundred (100) days from the date

25   of entry of the Preliminary Approval Order.
26          22.     The Final Approval Hearing pursuant to Fed. R. Civ. P. 23(e) is hereby scheduled
27
     to be held before the Court for the following purposes:
28
                                                     10
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 1                  (a)    to determine whether the applicable prerequisites for settlement of a class
 2   action under Fed. R. Civ. P. 23(a) and (b) are met;
 3
                    (b)    to determine whether the Settlement is fair, reasonable and adequate, and
 4
     should be approved by the Court;
 5
                    (c)    to determine whether any objections to the Settlement should be overruled;
 6

 7                  (d)    to determine whether the Attorneys' Fees and Costs requested by Class

 8   Counsel and Incentive Awards to the Representative Plaintiffs should be approved, and whether a

 9   Judgment finally approving the Settlement should be entered;
10
                    (e)    to consider the distribution of the Settlement Fund pursuant to the
11
     Stipulation of Settlement; and
12
                    (f)    to rule upon such other matters as the Court may deem appropriate.
13
            23.     Class Counsel may respond to any objections to the Settlement no later than ten
14

15   (10) days before the Final Approval Hearing. Class Counsel shall file a Motion for Final Approval

16   no later than fourteen days (14) before the Final Approval Hearing. The Final Approval Hearing
17   may be postponed, adjourned, transferred or continued by order of the Court without further notice
18
     to the Settlement Class. After the Final Approval Hearing, the Court may enter a Judgment
19
     approving the Settlement Agreement and an Order dismissing the Action in accordance with the
20
     Settlement Agreement that will adjudicate the rights of all Settlement Class Members.
21

22          24.     No later than seven (7) calendar days prior to the Final Approval Hearing, the

23   Settlement Administrator will file with the Court and serve both Class Counsel and Defendants’

24   Counsel a declaration stating that the Class Notice required by the Settlement Agreement has been
25   completed in accordance with the terms of this Preliminary Approval Order.
26

27

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                                                      11
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 1          25.     On or before fourteen (14) days prior to the Claim Deadline, Class Counsel shall
 2   file and serve: (i) a motion for Attorneys' Fees and Costs; and (ii) any application for an Incentive
 3
     Awards to the Representative Plaintiffs. For clarity, the deadlines the parties shall adhere to are
 4
     as follows:
 5
            Class Notice Mailed (and emailed where email addresses are available) by:
 6           April 16, 2022
            _______________ (the "Notice Date") (within 30 days after entry of Preliminary Approval
 7          Order)

 8          Claims Deadline: All claims are to be filed postmarked no later than 90 days after entry of
            the Preliminary Approval Order.
 9
            Class Counsels' Fee and Cost Application: ______________
                                                       June 15, 2022 (within 14 days prior to the
10          Claim Deadline)
11          Objection/Opt-Out Deadline:       July 15, 2022______(90 days from the Notice Date)
12
            Final Approval Submissions:                     _____ (14 days prior to Final Approval
                                               August 11, 2022
13          Hearing)

14          Final Approval Hearing:                    _______ (at least 100 days after Preliminary
                                          August 25, 2022
            Approval)
15
            26.     Pending final determination of whether the Settlement should be approved, the
16
     Plaintiffs and/or Defendants shall cooperate in seeking orders that no Settlement Class Member
17

18   (either directly, in a representative capacity, or in any other capacity), and anyone who acts or

19   purports to act on their behalf, shall institute, commence or prosecute any action that asserts
20   Released Claims against Defendants or other Released Parties.
21
            27.     If a Settlement Class Member wants to appear at the Final Approval Hearing and
22
     be heard with respect to objecting to the Settlement, that person or entity must file with the Court
23
     and serve on Class Counsel and Defendants’ Counsel a written notice of the intention to appear at
24

25   the Final Approval Hearing and object. Such written statement and notice must be mailed to the

26   Settlement Administrator at the address set forth in the Class Notice, and post marked no later than

27   ninety (90) days after entry of the Preliminary Approval Order (the “Objection Deadline”).
28
                                                       12
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 1   Settlement Class Members who fail to serve timely written objections in the manner specified
 2   above shall be deemed to have waived any objections and shall be foreclosed from making any
 3
     objection (whether by appeal or otherwise) to the Settlement. If a Settlement Class Member wishes
 4
     to present witnesses or evidence at the Final Approval Hearing in support of a timely and validly
 5
     submitted objection, all witnesses must be identified in the objection, and true and correct copies
 6

 7   of all supporting evidence must be appended to, or served with, the objection. Failure to identify

 8   witnesses or provide copies of supporting evidence in this manner waives any right to introduce

 9   such testimony or evidence at the Final Approval Hearing. If a Settlement Class Member hires an
10
     attorney to represent him or her, at the Settlement Class Member's own expense, that attorney must
11
     file a notice of appearance with the clerk of the Court on or before the Objection Deadline.
12
     VIII. OTHER PROVISIONS
13
            28.     If the Settlement does not become effective, the order certifying the Settlement
14

15   Class and all preliminary and/or final findings or stipulations regarding certification of the

16   Settlement Class shall be automatically vacated, voided and treated as if never filed, and the parties

17   will retain and reserve all positions with respect to the litigation, and the litigation shall proceed
18   as if no settlement had been reached.
19
            29.     The Court finds that Defendants have made no admissions of liability or
20
     wrongdoing of any kind associated with the alleged claims in the operative Complaint. Defendants
21
     have made no admission of liability or wrongdoing regarding each and every material factual
22

23   allegation and all claims asserted against it in the Action. Nothing herein will constitute an

24   admission of wrongdoing or liability, or of the truth of any allegations in the Action. Nothing

25   herein will constitute an admission by Defendants that the Action is properly brought on a class or
26
     representative basis, or that class(es) may be certified, other than for settlement purposes. The
27
     Court further finds that the Settlement of the Action, the negotiation and execution of this
28
                                                       13
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 1   Settlement, and all acts performed or documents executed pursuant to or in furtherance of the
 2   Settlement: (i) are not and will not be deemed to be, and may not be used as, an admission or
 3
     evidence of any wrongdoing or liability on the part of Defendants or of the truth of any allegations
 4
     in the Action; (ii) are not and will not be deemed to be, and may not be used as an admission or
 5
     evidence of any fault or omission on the part of Defendants in any civil, criminal, or administrative
 6

 7   proceeding in any court, arbitration forum, administrative agency, or other tribunal; and (iii) are

 8   not and will not be deemed to be and may not be used as an admission of the appropriateness of

 9   these or similar claims for class certification.
10
             30.     The Court retains jurisdiction to consider all further matters arising out of or
11
     connected with the Settlement.
12
     DATED:        March 17, 2022
13

14

15
                             Edward J. Davila, United States District Court Judge
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